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  13
                             UNITED STATES DISTRICT COURT
  14                        CENTRAL DISTRICT OF CALIFORNIA
  15   CLAYTON SALTER, individually and              CASE NO.: 2:20-cv-00479-JFW-JPR
       on behalf of all others similarly situated,
  16                Plaintiffs,                      Assigned to the Honorable John F.
                    vs.                              Walter
  17   QUALITY CARRIERS INC., an Illinois
       Corporation; et al.                           REPLY IN SUPPORT OF
  18                                                 PLAINTIFFS’ MOTION FOR
                    Defendants.                      CLASS CERTIFICATION
  19
                                                     Hearing Date:     April 5, 2021
  20                                                 Time:             1:30 p.m.
                                                     Courtroom:        7A
  21                                                 Judge:            John F. Walter
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                                 1       I.     INTRODUCTION
                                 2              Court after court has certified cases just like this one. And with good
                                 3       reason. This kind of case is precisely what class certification is for.
                                 4       Quality cannot seriously dispute that the employment status of its drivers is a
                                 5       common question that can be proven with common evidence. Nor does it even
                                 6       attempt to justify the logical conclusion of its position: that we should have 150
                                 7       identical trials where 150 drivers present the same evidence and make the same
                                 8       arguments to 150 different juries about whether Quality misclassifies its drivers.
                                 9       Instead, it tries to muddy the waters. But every argument Quality makes here has
                              10         already been rejected in similar cases. This Court should do the same.
                              11         II.    ARGUMENT
                              12                Quality concedes most of the relevant factors for class certification: (1) The
                              13         class is sufficiently numerous; (2) the threshold question—whether Quality’s
                              14         drivers were misclassified—is common to the class; and (3) both Mr. Salter and
                              15         class counsel will adequately represent the class. Quality objects to certification on
                              16         only three grounds. First, it contends that Mr. Salter’s claim is not typical of the
                              17         class, but it fails to identify any difference between Mr. Salter and other class
                              18         members that will have any impact on the actual claims in the case or Quality’s
                              19         defenses to those claims. Second, the company argues that individual issues
                              20         predominate over common ones, but in doing so, it confuses the question of
                              21         whether a class should be certified with whether that class will prevail on the
                              22         merits—and the issues of liability (on which common evidence is necessary) and
                              23         damages (on which it is not). And, third, Quality contends that a class action is not
                              24         superior to individual cases, but it presents no argument at all in support of this
                              25         contention—resting entirely on its arguments as to typicality and predominance. All
                              26         three of these objections fail. 1
                              27                Quality asserts that Mr. Salter did not seek certification of his minimum
                                                1

                              28         wage claim. That’s false. See Mem. for Class Certification at 12, 25–26.
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                 A. Quality’s unexplained arguments against typicality are incapable
   1
                    of defeating certification.
   2
             To defeat typicality, Quality faces a heavy burden. All a named
   3
       representative must do to satisfy typicality is show that his claims are “reasonably
   4
       co-extensive with those of absent class members; they need not be substantially
   5
       identical.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998).2 To
   6
       defeat typicality, then, Quality must show not just that Mr. Salter’s work was
   7
       different; it must demonstrate that any differences make his claims somehow
   8
       atypical. Quality comes nowhere close. Although it asserts (at 8) that there are some
   9
       differences between Mr. Salter and the others—e.g., that Mr. Salter spent “99
  10
       percent” of his time hauling loads for one customer—it completely fails to explain
  11
       how those differences matter. The most it offers is a generic claim that typicality
  12
       can be defeated when the “representative is preoccupied with defenses unique to it.”
  13
       Opp. 8. But raising the specter of a unique defense against the named representative
  14
       “does not automatically render the proposed representative atypical.” Fireside Bank
  15
       v. Superior Court, 40 Cal. 4th 1069, 1091 (2007). There must actually be a unique
  16
       defense. Because Quality identifies none here, its argument fails. See id.
  17
  18             B. Individualized issues do not predominate over common ones.
  19
             ABC Test. As an initial matter, Quality concedes (at 10) that, under
  20
       Dynamex Operations West, Inc., v. Superior Court of Los Angeles, 4 Cal. 5th 903
  21
       (2018), “the ABC test presumes that all workers are employees” unless an employer
  22
       can demonstrate that none of the three “ABC” prongs apply. The company
  23
       recognizes that Dyanmex is retroactive—and therefore covers the whole class
  24
       period—but it argues (at 10) that “the California Supreme Court confined the
  25
       applicability of Dynamex to claims brought under California Wage Orders.” That is
  26
  27         2 Unless otherwise specified, all internal quotation marks, citations, and
       alterations omitted.
  28

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   1   wrong. As the California Court of Appeal has explained, “Dynamex did not reach
   2   the question of whether the ABC test applies to non–wage order related Labor Code
   3   claims.” Gonzales v. San Gabriel Transit, Inc., 40 Cal. App. 5th 1131, 1157 (2019).
   4   The Court of Appeal, however, has now answered that question, holding that
   5   Dynamex—and thus the ABC test—applies to any Labor Code claims that “are
   6   either rooted in one or more wage orders, or predicated on conduct alleged to have
   7   violated a wage order,” including “non-wage order allegations” that are “equivalent
   8   or overlapping” with conduct governed by the wage orders. Id. That standard
   9   covers every claim here. See id. at 1157-60.
  10         That is fatal to Quality’s opposition because the company also concedes that
  11   certification is proper under at least prong B of the ABC test. See Opp. 19 (arguing
  12   that certification is inappropriate “as to prongs A and C”). Because the answer to
  13   that question—one way or the other—“will resolve an issue that is central to the
  14   validity of each one of the claims in one stroke,” and because, as Quality concedes,
  15   that question can be answered with common evidence, certification is appropriate.
  16   Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011).
  17         Quality’s only response (at 18-19) is to argue that the ABC test is preempted.
  18   Not so. See W. States Trucking Ass’n v. Schoorl, 377 F. Supp. 3d 1056, 1072 (E.D.
  19   Cal. 2019) (“[T]he FAAAA does not preempt Dynamex’ interpretation of California
  20   wage orders”). And regardless, this objection is itself a question common to the
  21   class—preemption is an affirmative defense and Quality does not argue that it
  22   might apply to only some, but not others, in the class. As a result, it is “appropriate
  23   to evaluate preemption” only after class certification once the case has reached the
  24   merits. Aguirre v. Genesis Logistics, 2013 WL 12129648 at *5 (C.D. Cal. Mar. 26,
  25   2013).
  26         Even for the other prongs, Quality is wrong that this case cannot be certified.
  27   Quality argues (at 19) that certification would be inappropriate under prong A
  28   because, in practice, its “actual incidence of control” varies depending on a number

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   1   of different circumstances. That misses the point—twice. First, Dynamex is clear
   2   that a worker is an employee under Prong A if they are subject to “the type and
   3   degree of control a business typically exercises over employees” “either as a matter
   4   of contractual right or in actual practice.” 4 Cal. 5th at 958 (emphasis added).
   5   Quality directs its argument solely at actual practice, but that doesn’t get it far
   6   enough. Under Dynamex, the contract alone is sufficient.
   7         In any case, the question at certification is not whether this prong is satisfied
   8   on the merits, but rather whether that question can be answered through common
   9   evidence. But Quality does not argue that its contracts are sufficient common
  10   evidence to satisfy prong A. It can’t. The company’s contracts establish a policy of
  11   control that applies to all of its drivers. Cert. Mem. 17–19. For example, Quality’s
  12   contracts state that it is the company that has “exclusive possession, control and
  13   use” of the trucks. Id. at 9. Consistent with that right of control, Quality’s contracts
  14   lay out a variety of common policies. Id. at 8–12. Quality’s contracts will thus
  15   provide common evidence of the degree to which Quality could control its drivers’
  16   work. See, e.g., James v. Uber Techs. Inc., 2021 WL 254303 at *8 (N.D. Cal. Jan.
  17   26, 2021) (certifying class with fewer uniform terms under its contracts).
  18         Quality’s only argument against certification under prong C is just as weak—
  19   it states that the evidence necessary to establish this prong “varies” because one
  20   driver “had his own operating authority” and so “could have hauled” loads
  21   independent of Quality. Opp. 20. But here, too, Quality misses the point. What
  22   matters for this prong is whether the company had a uniform policy of “expressly
  23   prohibiting” its drivers from doing so. Fleming v. Matco Tools Corp., 2021 WL
  24   673445 at *10 (N. D. Cal. Feb. 21, 2021)). Quality makes no effort to dispute that it
  25   had that uniform policy here—and for good reason. Quality’s contracts gave it, and
  26   not the drivers, the right to “exclusive possession, control and use” of the trucks.
  27   Cert. Mem. 9. The company’s training materials were even more explicit: No driver
  28   could use their truck for “anything other than company approved business.” Id. And

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   1   even the one driver that Quality singles out never hired himself out independently
   2   because he did not even know that he had his own operating authority. Jones Decl.
   3   ¶¶ 20, 24.
   4         Borello Test. Quality also argues against certification under the Borello test,
   5   S.G. Borello & Sons, Inc. v. Dep’t of Indus. Rels., 48 Cal. 3d 341 (1989). In its view
   6   (at 9), the misclassification question under the Borello test “will be overwhelmingly
   7   focused on issues unique to each Contractor.” But as with the ABC test, it can reach
   8   this conclusion only by ignoring the actual question that matters—did it have the
   9   right to control its workers?—and focusing instead on an irrelevant one—did it
  10   exercise that right in the same way over each driver? It is, to be clear, the former
  11   question that carries legal significance under Borello. Ayala v. Antelope Valley
  12   Newspapers, Inc., 59 Cal. 4th 522, 533 (2014) (“[W]hat matters . . . is not how
  13   much control a hirer exercises, but how much control the hirer retains the right to
  14   exercise”).
  15         And on that question, Quality (once again) does not meaningfully challenge
  16   the fact that common evidence—from its own contracts and training materials—
  17   that will provide a common answer for each Borello factor. Take the right of
  18   control—the first and most important factor. Quality insists (at 12) that its contracts
  19   did not confer “a right of control” over its drivers because they only required
  20   drivers to “perform their contractual obligations in a ‘safe and prudent manner’ and
  21   with ‘reasonable diligence, speed, and care.’” Not so. As we have explained,
  22   Quality’s contracts do much more than that—they specifically confer on Quality a
  23   right of control over its workers, by, for instance, authorizing the company to track
  24   and record its drivers “at all times.” Cert. Mem. 10. But even so, Quality’s
  25   argument “focuse[s] on the wrong legal question.” Ayala, 59 Cal. 4th at 535. The
  26   right question, for certification, is not whether Quality actually has the right to
  27   control its workers but whether that right “is commonly provable.” Id. On this,
  28   Quality appears to agree that common evidence—the contracts—will provide a

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    1   common answer to this question. It may disagree on what that common answer
    2   should be, but because Quality’s contracts lay out a uniform policy on the right to
    3   control, this question is susceptible to common proof. See Villalpando v. Exel
    4   Direct Inc., 303 F.R.D 588, 608 (N.D. Cal. 2014); Nash v. Horizon Freight Sys.,
    5   Inc., 2020 WL 7640878 at *2 (N.D. Cal. Dec. 23, 2020). 3
    6         Quality next focuses (at 12-13) on its training procedures, arguing that these
    7   vary in material ways that could provide a basis to deny certification. The record
    8   once again refutes this. During the class period, Quality used two training materials,
    9   each spanning thousands of pages. Of those, Quality identifies three pages that
   10   changed in 2019. But the employer’s policies do not need to be exactly the same to
   11   provide classwide proof. Policies that are, as here, “substantially identical” in the
   12   key respects are more than sufficient. Dalton v. Lee Publ’ns, Inc., 270 F.R.D. 555,
   13   563 (S.D. Cal. 2010). The slight differences Quality identifies do nothing to change
   14   the fact that Quality’s training materials lay out its “control over every exquisite
   15   detail of the drivers’ performance,” Estrada v. FedEx Ground Package System,
   16   Inc., 154 Cal. App. 4th 1, 11–12 (Ct. App. 2007), including everything from how
   17         3  Quality urges this Court not to “‘rely on [uniform] policies” if doing so
   18   would exclude “other relevant factors touching on predominance.’” Opp. 9
        (citing In re Wells Fargo Home Mortg. Overtime Pay Litig., 571 F.3d 953, 955 (9th
   19
        Cir. 2009)). But Quality never actually identifies any other relevant factors that are
   20   at risk of being ignored. Moreover, Quality’s reliance on Wells Fargo is misplaced.
        In that case, the Ninth Circuit approved the use of “uniform corporate policies” in
   21
        determining predominance where those policies are relevant to the underlying legal
   22   question—in those circumstances, the court explained, the policies “carry great
        weight.” Id. at 959. The problem in Wells Fargo was that the bank’s common
   23
        policy was not actually relevant to the legal question in the case. See id. at 959.
   24   Here, in contrast, the relevant legal question—whether Quality maintained
        the right to control its drivers—can actually be answered by the company’s policies.
   25
        Under Wells Fargo itself, therefore, those policies may—and should—be relied
   26   upon to demonstrate that common issues predominate. Cf. id. (providing example
        of policy relevant to legal issue, reliance on which would mean that common issues
   27
        predominate).
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    1   they could wear their hair to how they were supposed to load and unload cargo.
    2   Cert. Mem. 8–12. Quality makes no attempt to show that any of these policies ever
    3   changed and that is what matters at this stage.
    4         Quality’s focus (at 13) on additional training requirements that may have
    5   been required by its customers or a driver’s experience fare no better. Once again,
    6   Quality does not dispute that it had the right to dictate its drivers’ training, nor that
    7   this right can be shown through common evidence, see Cert. Mem. 10- 11, but
    8   instead that it exercises that right differently driver-to-driver. Opp. at 12–13. But,
    9   again, what matters here is that Quality has the same right to dictate all of its
   10   drivers’ training, even if the way it exercises that right varies. See Bowerman v.
   11   Field Asset Servs., Inc., 242 F. Supp. 3d 910, 931 n.27 (N.D. Cal. 2017).
   12         Quality makes the same basic mistake in analyzing the secondary Borello
   13   factors. It relies on evidence demonstrating, it contends, the varied level of control
   14   the company actually exercises over its drivers. Opp. at 14–18. But, again, that is
   15   not the right inquiry. The inquiry that governs employment classification is whether
   16   the company maintained the right to control its workers—whether or not it actually
   17   exercised that control. See, e.g., Bowerman, 242 F. Supp. 3d at n.27 (rejecting
   18   reliance on differences in actual control exercised over class members because
   19   relevant inquiry is right to control); Canava v. Rail Delivery Serv. Inc., 2020 WL
   20   2510648, at *10 (C.D. Cal. Feb. 27, 2020) (same).
   21         Thus, for example, Quality’s argument (at 15-16) that its supervision over
   22   each driver varies is irrelevant. Quality does not, and cannot, dispute that its right to
   23   supervise its drivers can be demonstrated with common evidence. After all, its
   24   contracts allow it to track and record its drivers “at all times.” Thomas Decl. ¶¶ 12,
   25   17. And, in its training materials, Quality makes clear that it has the right to
   26   supervise how a driver loads and unloads cargo. Cert. Mem. 10.
   27         Unable to seriously contest that its right to control can be evaluated through
   28   common evidence, Quality attempts to manufacture divisions within the class by

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    1   pointing to minor differences that don’t actually matter—and certainly do not
    2   predominate. For example, Quality notes (at 17) that its drivers worked for different
    3   lengths of time but concedes that its contracts provided employment for at least a
    4   year, a length of time that suggests an employment relationship. See, e.g., Antelope
    5   Valley Press, 162 Cal. App. 4th at 855 (noting that a contract hiring someone for a
    6   specific duration rather than to achieve a specific result is “at odds” with the idea
    7   that worker is independent contractor). Any differences in how long its drivers
    8   actually worked, therefore, are immaterial. Similarly, the company asserts (at 17)
    9   that there are variations in when its drivers submitted their paperwork for payment.
   10   But it provides no explanation for why that matters. The company’s method for
   11   compensating its drivers, Quality concedes (at 17), is uniform across the class. Cert.
   12   Mem. 12. And it is the method of compensation that is relevant, not the exact date
   13   on which a driver was paid. See Borello, 48 Cal. 3d at 351 (describing factor as “the
   14   method of payment, whether by the time or by the job”). Quality’s arguments for
   15   whether its workers engage in a distinct business (at 14), 4 what skills are required
   16   (at 16), who provides the necessary instrumentalities (at 16), 5 and whether the
   17   parties believed they were forming an employer-employee relationship (at 18) fail
   18   for similar reasons.
   19         Quality focuses (at 14) on the fact that while its contracts generally permit it
   20         4  Quality maintains that its drivers can hire helpers. Even if that were true,
   21   because “all drivers are subject to the same rules and requirements with respect to
        the hiring of second drivers and helpers,” this factor is “suitable for treatment on a
   22
        classwide basis.” Villalpando, 303 F.R.D. at 608.
   23          5 Quality argues that its drivers have complete discretion in deciding how to

        acquire their trucks, but this, too, would be a uniform policy susceptible to
   24
        classwide proof. In any event, Quality does not dispute that its contracts gave it the
   25   right to deduct payments for its drivers’ trucks from their wages, regardless of
        where they got the trucks. Cert. Mem. 8–10. Nor does the company dispute that it is
   26
        Quality who has ultimate control over the trucks. Id. Quality also does not dispute
   27   that its contracts gave it the right to require all drivers to obtain the same
        communications technology, tracking systems, and safety equipment. Id.
   28

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    1   to terminate a driver without cause, the contract for a single year permitted
    2   termination for material breach. But the contract language itself makes clear that
    3   distinction is illusory. Quality’s contract defines breach to include any violation of
    4   Quality’s policies or a customer or shipper’s requirements. Bass Decl., Ex. B, at 18.
    5   In other words, the provision hands Quality the very same control that an at-will
    6   termination provision gives the company—the ability to ensure that its drivers
    7   comply with its orders. Compare Narayan v. EGL, Inc., 616 F.3d 895, 903 (9th Cir.
    8   2010) (permitting termination of contract with 30-days’ notice is “substantial
    9   indicator of an at-will employment relationship”) with Soares v. Flowers Foods,
   10   Inc., 320 F.R.D. 464, 480 (N.D. Cal. 2017) (agreement allowing termination for
   11   failure to comply with customer requirements or breach of contract is “classwide[]
   12   evidence of control”). And, in any event, this single variation does not predominate
   13   over the mountain of common evidence. Cf. Bowerman, 2015 WL 1321883, at *10
   14   n.4 (upholding class certification despite the existence of a different termination
   15   provision in one of the company’s contracts).6
   16         Quality even attempts to rely on distinctions that don’t actually exist. It
   17   speculates (at 17) that if a driver did not personally perform work for Quality, then
   18   that driver would not be performing the regular business of the company. But it
   19   points to no evidence that this was the case for any drivers. See Johnson v. Serenity
   20   Transp., Inc., 2018 WL 3646540, at *8 (N.D. Cal. Aug. 1, 2018) (rejecting asserted
   21   differences among class members that are “unsupported by . . . any evidence”).
   22         “[M]inor variations”—here nonexistent variations, really—cannot defeat
   23   class certification. Combe v. Intermark Commc’ns, Inc., 2010 WL 11597517, at *8
   24   (C.D. Cal. Nov. 18, 2010); see also Wright v. Linkus Enters., Inc., 259 F.R.D. 468,
   25         6 To the extent that the slightly different termination policies in the contracts
   26   make a difference, sub-classes would be suitable for the workers employed by
        Quality prior to 2019. See Lee v. ITT Corp., 275 F.R.D. 318, 323 (W.D. Wash.
   27
        2011)
   28         .

                                                   9                                        REPLY
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    1   473 (E.D. Cal. 2009) (minor factual differences between individual class members
    2   cannot defeat class certification). Indeed, courts have repeatedly certified classes in
    3   cases just like this one despite variations between class members like those Quality
    4   identifies or the lack of common proof on some of the secondary factors. See, e.g.,
    5   Dalton, 270 F.R.D. at 562–64 (citing multiple cases); Smith v. Cardinal Logistics
    6   Mgmt. Corp., 2008 WL 4156364, at *10 (N.D. Cal. Sept. 5, 2008) (certifying class
    7   of drivers despite differences as to whether they “owned their own trucks,”
    8   “established [their] own corporation[s],” and “had their own operating authority”
    9   because these differences were “largely subsumed under the ultimate issue of [the
   10   company’s] control over its delivery drivers”). After all, Rule 23 “does not require a
   11   plaintiff . . . to prove that each element of [their] claim is susceptible to classwide
   12   proof.” Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 469 (2013)
   13   (cleaned up). The rule requires only “that common questions predominate over any
   14   questions affecting only individual class members.” Id. (cleaned up).
   15         Bottom line: The center of gravity of this litigation is whether Quality
   16   maintained a right to control its drivers, such that they are employees, not
   17   independent contractors. Because that question can be answered through common
   18   evidence, the class should be certified.
   19         Claim-specific arguments. Quality raises a host of additional arguments in
   20   an attempt to defeat certification, even though every driver’s claims turn on the
   21   same common question. All fail.
   22         First, Quality argues that that the meal and rest break claim is preempted, but
   23   again, preemption is itself a class-wide question. It cannot, therefore, defeat
   24   certification. Next, Quality asserts (at 21) that its evidence demonstrates that it
   25   complied with California’s meal and rest break law. Wrong again. Not only is that
   26   false—Quality’s policy permits only one thirty-minute break per eight-hour period,
   27   which violates California law, see Cert. Mem. 25—but it also is a merits argument.
   28   And, because Quality does not contest that even this evidence is common to the

                                                   10                                      REPLY
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    1   class, it actually undermines its own case against certification. Cf. Moreno v. JCT
    2   Logistics, Inc., 2019 WL 3858999, at *16 (C.D. Cal. May 29, 2019) (holding that
    3   whether drivers’ schedules permitted them to take meal breaks is a classwide issue);
    4   Villalpando, 303 F.R.D. at 609 (similar).
    5         Finally, Quality contends individualized issues will matter for whether and
    6   when drivers took breaks and what deductions from class members’ wages were
    7   illegal. But Quality vastly overstates the extent to which any individualized inquiry
    8   might be needed. It does not dispute that it has timesheets for each driver, as well as
    9   records of each driver’s wages and the deductions it took from those wages. Berger
   10   Decl. ¶¶ 8–11. Computing damages, then, will be a ministerial exercise. And to the
   11   extent there are individualized issues, they are, by definition, damages issues. The
   12   potential for individualized damage assessments “does not detract from the action's
   13   suitability for class certification.” Yokoyama v. Midland Nat’l Life Ins. Co., 594
   14   F.3d 1087, 1089 (9th Cir. 2010). To the contrary, “damages determinations are
   15   individual in nearly all wage-and-hour class actions.” Leyva v. Medline Indus. Inc.,
   16   716 F.3d 510, 513 (9th Cir. 2013). Yet such cases are routinely certified. See, e.g.
   17   Dalton, 270 F.R.D. at 564 (rejecting similar argument). 7
   18             C. Quality’s cursory arguments on superiority are meritless.
   19
              Quality’s only argument contesting superiority is a cursory assertion (at 25)
   20
        that “[f]or the reasons explained above”—the company’s arguments on typicality,
   21
        commonality, and predominance—“this case cannot be efficiently tried as a class
   22
        action.” But Quality’s typicality, commonality, and predominance arguments fail.
   23
        By its own reasoning, then, its superiority argument, too, must fail. Quality makes
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   25
              7  Quality’s arguments on the Section 203 and 206 claims are derivative of its
        arguments on the other claims, so they fail for the same reasons. Quality also makes
   26   a conclusory assertion that Mr. Salter has not provided any evidence in support of
   27   certification of the claim against it for its failure to provide accurate wage
        statements. Not so. But that claim, like the rest, hinges on misclassification. Cert.
   28   Mem. 2.
                                                  11                                     REPLY
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    1   the same conclusory argument with respect to its class-action waiver. Opp. 25. And
    2   it fails for the same reason.
    3          In a footnote (at n.11), Quality half-heartedly asserts that public policy
    4   weighs in favor of enforcing its class-action waiver. “Arguments raised only in
    5   footnotes” are waived. Est. of Saunders v. Comm’r of Internal Revenue, 745 F.3d
    6   953, 962 n.8 (9th Cir. 2014). And even if Quality had not waived it, courts routinely
    7   hold that companies may not enforce a class-action waiver upon workers bringing
    8   claims under California’s worker-protection laws in circumstances like this. 8 And
    9   Quality’s waiver—imposed as part of a procedurally unconscionable take-it-or-
   10   leave-it form contract, March 18, 2021 Salter Decl. ¶ 5—not only violates public
   11   policy but is unconscionably one-sided. See Ingle, 328 F.3d at 1176 (holding that
   12   because there is no circumstance “under which an employer would bring a class
   13   proceeding against an employee,” such a waiver is “is manifestly and shockingly
   14   one-sided” and therefore “substantively unconscionable”). For that reason, too, it’s
   15   unenforceable. Armendariz v. Found. Health Psychcare Servs., Inc., 24 Cal. 4th 83,
   16   113-14 (2000) (unconscionably one-sided provisions in adhesive contracts are
   17   unenforceable).
   18   III.   CONCLUSION
   19          The plaintiffs’ motion for class certification should be granted.
   20
   21   Dated: March 19, 2021                 Respectfully Submitted,
   22                                   By:   /s/ Daniel J. Bass
   23                                         Taras Kick
                                              Daniel J. Bass
   24
   25          See, e.g., Ingle v. Cir. City Stores, Inc., 328 F.3d 1165, 1176 (9th Cir.
               8

        2003); Canava, 2020 WL 2510648, at *5-*6 (collecting cases); Murphy v. Check 'N
   26   Go of Cal., Inc., 156 Cal. App. 4th 138, 148 (2007), abrogated on other grounds
   27   recognized in Iskanian v. CLS Transp. L.A., LLC, 59 Cal. 4th 348, 366 (2014);
        Garrido v. Air Liquide Indus. U.S. LP, 241 Cal. App. 4th 833, 847 (2015); March
   28   18, 2021 Salter Decl. ¶¶ 5-7; March 19, 2021 Bass Decl. ¶¶ 3-6.
                                                   12                                       REPLY
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